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                         EXHIBIT 6




                                                                         UBSPO026
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                                                 August 4, 2021


 VIA EMAIL

     Jason R. Burt
     Latham & Watkins LLP
     555 Eleventh Street, N.W.
     Suite 1000
     Washington, D.C. 2004-1304
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                     Re:  UBS Securities LLC and UBS AG London Branch v. Highland Capital
                     Management et al. (Index No. 650097/2009)
 Dear Mr. Burt,

         As you know, we represent Sentinel Reinsurance Ltd. (“Sentinel”). We write as a
 follow-up to our phone call on July 29, 2021. As discussed on our call, the information
 subpoenas, restraining notice, and other documents (the “Third Party Discovery Documents”)
 UBS attempted to serve on Sentinel in the Cayman Islands are not automatically enforceable
 outside of the United States. Evidence for use in foreign proceedings can only be compelled
 from a witness located in the Cayman Islands with the assistance of a Cayman Court, pursuant to
 the Hague Convention on the Taking of Evidence Abroad in Civil or Commercial Matters (the
 “Hague Evidence Convention”). Compliance with the Hague Evidence Convention is required
 here since the Third Party Discovery Documents are being served outside the U.S. on a non-
 party.

         New York law has consistently held that with respect to foreign non-parties, like
 Sentinel, use of the Hague Evidence Convention is “virtually compulsory.” Orlich v. Helm Bros.,
 Inc., 160 A.D.2d 135, 143 (1st Dep’t 1990) 1. As Orlich held, this is because the use of non-
 judicial taking of evidence in a country where that is the requirement is “an affront to their
 1
   See also Matter of Agusta, 171 A.D.2d 595, 596 (1st Dept. 12291) (reversing Surrogate’s Court order that a non-
 party witness who was an Italian citizen living in Monaco appear in New York for a deposition, finding that the
 Hague Evidence Convention needed to be used, particularly when the discovery is sought from a non-party); Ayyash
 v. Koleilat, 38 Misc. 3d 916 (N. Y. Sup. 2012), aff’d 115 A.D. 3d 495 (1st Dep’t, 2014) (holding that party seeking
 to enforce foreign judgment had to use Hague Evidence Convention to obtain bank account information from
 branches outside of New York, even though the banks had branches in New York); Peters v. Peters, 127 A.D.3d 656
 (1st Dep’t 2015) (Hague Evidence Convention was appropriate to obtain discovery from non-party UBS,
 particularly where disclosure could violate Swiss banking law); Intercontinental Trading Corp. v. Roth, 154 Misc.
 2d 639 (N.Y. Supp. 1991) (Hague Evidence Convention procedure required after Agusta to obtain disclosure from
 Israeli bank as to accounts held outside of the United States, even if Israeli banking laws were not clearly
 implicated).


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 sovereignty.” Id. Specifically, the Orlich court held that “[s]uch an exercise would be
 particularly offensive where, as here, the entity being subjected to the court-ordered fact
 gathering . . .is not even a party to the litigation. . .” Id. Orlich also identified several factors to
 determine whether the Hague Evidence Convention should be used: 1) the degree of specificity
 of the request, 2) whether the information originated in the United States, 3) the availability of an
 alternate source to obtain the information, 4) the extent to which non-compliance would
 undermine US interests; and 5) whether compliance would undermine important interests of the
 country where the information is located. Id. at 144. Here, these factors weigh heavily in favor of
 the use of the Hague Evidence Convention as (i) the information subpoena is incredibly broad,
 (ii) certain of the information likely did not originate in the U.S.—it originated in the Cayman
 Islands, (iii) there is an alternate source of the documents (Beecher Carlson, Sentinel’s manager,
 which we understand has also received a similar subpoena), and (iv) the Cayman Island’s interest
 in protecting its sovereignty, as well as the interests of the Cayman Islands to protect its citizens
 (especially given the divergence in discovery practices between the Cayman Islands and U.S.),
 override permitting service of broad discovery requests that would not be permitted without
 Cayman court oversight.

         Further, as we discussed last week, Sentinel’s prior directors have all resigned and have
 very recently been replaced by new independent directors with no prior affiliation with or
 knowledge of Sentinel or its actions with respect to the various Highland Capital entities. As
 such, and with recognition of the new directors’ fiduciary duties to Sentinel, they are currently
 undertaking a review of the facts, including coverage under the insurance policy and the assets
 which were transferred to pay the premiums on the policy. In addition, the directors and their
 Cayman Islands counsel are working with Beecher Carlson regarding a review of documents that
 are in Beecher Carlson’s possession (and not in Sentinel’s).

        Additionally, although we continue to dispute that service of these documents was proper
 and so no response to these documents is legally required at this time, as discussed above, the
 Sentinel directors only recently received--on July 26, 2021--from Sentinel’s registered agent
 your May 14, 2021 letter, the undated restraining notice, the bankruptcy subpoena (dated April 2,
 2021) and another copy of the information subpoena.

         While we believe a consensual resolution is possible as we discussed on our call last
 week, and Sentinel and its new independent directors may be willing to cooperate with UBS, at
 this point, the independent directors are taking initial steps to understand the underlying facts and
 information in connection with their fiduciary duties and as required under the laws of the
 Cayman Islands.

         Though you have previously indicated you believe New York courts have personal
 jurisdiction over Sentinel, and have requested that Sentinel waive any of its arguments regarding
 such jurisdiction, Sentinel does not waive and hereby reserves any and all of its objections to the
 Third Party Discovery Documents and the jurisdiction of the New York Supreme Court over
 Sentinel for any purpose whatsoever.



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           We welcome the opportunity to discuss these matters with you further.

                                                   Very Truly Yours,

                                                   /s/ Katherine R. Catanese

                                                   Katherine R. Catanese


 cc:       Stephen Leontsinis, Collas Crill




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